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 1   MANDOUR & ASSOCIATES, APC
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 7
     Attorneys for Defendants,
     Collins Cash Inc. and Abraham Cohen
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 9
                       UNITED STATES DISTRICT COURT
10
11                  NORTHERN DISTRICT OF CALIFORNIA
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                                              )
13
     BILLFLOAT INC. DBA SMARTBIZ              ) Case No. 3:20-cv-09325-EMC
14   LOANS, a Delaware corporation,           )
15                                            ) DEFENDANTS’ NOTICE OF
                Plaintiff,                    ) LODGMENT OF DEFENDANTS’
16                                            ) TRIAL EXHIBITS
17        v.                                  )
                                              ) Trial Date: November 14, 2022
18
      COLLINS CASH INC. dba SMART             ) Courtroom: 5, 17th Floor
19    BUSINESS FUNDING, a New York            ) Judge: Hon. Edward M. Chen
      corporation; and ABRAHAM                )
20
      COHEN, an individual,                   )
21                                            )
22              Defendants.                   )
                                              )
23                                            )
24                                            )
                                              )
25
26   \\
27   \\
28   \\
                                                          Civil Case No. 3:20-cv-09325-EMC
                        DEFENDANTS’ NOTICE OF LODGMENT OF DEFENDANTS’ TRIAL EXHIBITS
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             Case 3:20-cv-09325-EMC Document 99 Filed 10/11/22 Page 2 of 3




 1         PLEASE TAKE NOTICE that pursuant to the Court’s Amended Case
 2   Management and Pretrial Order (ECF No. 77) and the Court’s October 6,
 3   2022 Order (ECF No. 96), Defendants Collins Cash Inc. and Abraham Cohen
 4   lodged true and correct copies of Defendant’s Trial Exhibits on October 11, 2022.
 5
 6                                   Respectfully submitted,
 7                                   MANDOUR & ASSOCIATES, APC
 8   Date: October 11, 2022
 9                                         /s/ Ben T. Lila
                                     Ben T. Lila (SBN 246808)
10                                   Email: blila@mandourlaw.com
11                                   Attorneys for Defendants,
                                     Collins Cash, Inc. and Abraham Cohen
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                                                            Civil Case No. 3:20-cv-09325-EMC
                          DEFENDANTS’ NOTICE OF LODGMENT OF DEFENDANTS’ TRIAL EXHIBITS
                                            -2-
             Case 3:20-cv-09325-EMC Document 99 Filed 10/11/22 Page 3 of 3




 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on the below date I filed the foregoing document with
 3   the Clerk of the Court using the CM/ECF system, which will send notification of
 4   the same on the parties.
 5
 6   Date: October 11, 2022
 7                                                /s/ Ben T. Lila
                                            Ben T. Lila
 8                                          Email: blila@mandourlaw.com
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                                                            Civil Case No. 3:20-cv-09325-EMC
                          DEFENDANTS’ NOTICE OF LODGMENT OF DEFENDANTS’ TRIAL EXHIBITS
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